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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :      Case No:
                                              :
                 v.                           :
                                              :      VIOLATIONS:
ILYA LICHTENSTEIN, and                        :
                                              :      18 U.S.C. § 1956(h)
HEATHER MORGAN,                               :      (Money Laundering Conspiracy)
                                              :
                 Defendants.                  :      18 U.S.C. § 371
                                              :      (Conspiracy To Defraud the United States)

     MOTION TO SEAL AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

         The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to place and maintain under seal, until the Arrest

Warrants are executed, the Affidavit in Support of Criminal Complaint, Criminal Complaint, and

Arrest Warrants in the above-captioned matter, this Motion and Supporting Memorandum, the

proposed Order attached to this Motion, and any Order granting this motion. In support thereof,

the government states as follows:

         1.      The United States is investigating allegations that ILYA “DUTCH”

LICHTENSTEIN and his wife, HEATHER MORGAN, committed Money Laundering

Conspiracy, in violation of 18 U.S.C. § 1956(h); and Conspiracy to Defraud the United States, in

violation of 18 U.S.C. § 371, in connection with the hack and theft of virtual currency from a well-

known virtual currency exchange in August 2016 and the subsequent laundering of the stolen

funds.

         2.      The Affidavit in Support of Criminal Complaint references evidence gathered in

the course of the investigation. The public disclosure of the Government’s evidence could

compromise the integrity of the investigation, including the ability of the United States to locate
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and arrest the defendants, which may also lead to the destruction of evidence in other locations.

Thus, a sealing order is necessary to avoid hindering the ongoing investigation and planned

arrest(s) in this matter.

        2.      As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999),

there is a presumption of access to Court proceedings. But, this can be overridden if “‘(1) closure

serves a compelling interest; (2) there is a substantial probability that, in the absence of closure,

this compelling interest would be harmed; and (3) there are no alternatives to closure that would

adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co. v. United

States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

        3.      In this matter, the United States has a compelling interest in preserving the integrity

of its investigation and arresting the defendant. A limited sealing order ensuring that filings

related to the Criminal Complaint and Arrest Warrants are not accessible from the Court’s public

files is narrowly tailored to serve a compelling interest.

        4.      Furthermore, the United States respectfully submits that complying with the normal

notice requirements of Washington Post would defeat the purpose of the motion to seal. Persons

who know the criminal justice system also know that docketing a motion to seal an Affidavit in

Support of Criminal Complaint and Arrest Warrants, or a resulting sealing order, means that the

defendants are charged with a crime, and the Government intends to arrest them. Thus, if this

Motion or a sealing order were to become public, it would be the same as making public the

Complaint and Arrest Warrants.

        WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court place and maintain under seal, until execution of the Arrest


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Warrants, the Affidavit in Support of Criminal Complaint, this Motion and Supporting

Memorandum, the proposed Order attached to this Motion, and any Order granting this motion.


                                          Respectfully submitted,

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